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               IN THE UNITED STATES DISTRICT COURT
              FOR THE NORTHERN DISTRICT OF GEORGIA
                         ATLANTA DIVISION

CHRISTOPHER BAILEY                     )
                                       )
                   Plaintiff,          )
                                       )             CIVIL ACTION
vs.                                    )             FILE NO.
                                       )
INNOVATIVE CONTRACTING                 )
SOLUTIONS, INC.; and                   )
MATTHEW HUBBARD;                       )
                                       )
                   Defendants.         )             JURY TRIAL DEMANDED

                                   COMPLAINT

      Plaintiff, Christopher Bailey, brings this Fair Labor Standards Act (“FLSA”)

case against his former employers, Innovative Contracting Solutions, Inc.

(“Innovative”) and Matthew Hubbard for unpaid overtime wages.                In support

thereof, Plaintiff respectfully requests the Court consider the following:

                                    I. Introduction

                                           1.

      Innovative provides general construction and contracting services to

commercial landlords and tenants throughout the southeast.

                                           2.

      In or around July 2011, Innovative hired Plaintiff.
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                                         3.

      Plaintiff’s primary job duty was to provide construction-related services for

Innovative clients in Georgia and Alabama.

                                         4.

      From July 2011 until July 2012, Plaintiff worked in excess of fifty five hours

each week.

                                         5.

      Plaintiff was never compensated at all for his overtime work.

                                         6.

      Defendants’ refusal to pay overtime to Plaintiff, a non-exempt employee, is

a willful violation of Fair Labor Standards Act, 29 U.S.C. § 201 et seq (“FLSA”).

                                         7.

      Plaintiff seeks all damages available under the FLSA, including unpaid

overtime wages, liquidated damages, attorneys’ fees, and punitive damages.

                        II. Parties, Jurisdiction, and Venue

                                         8.

      Plaintiff, Christopher Bailey, is a resident and citizen of the State of Georgia


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and may be served through the undersigned counsel.

                                         9.

      Defendant, Innovative Contracting Solutions, Inc., is an Alabama

corporation authorized to do business in the State of Georgia. At all times relevant

to this lawsuit, Innovative was Plaintiff’s employer for purposes of the FLSA.

Innovative may be served with process through its registered agent, Matthew

Brady Hubbard, at 2110 Powers Ferry Road SE, Suite 290, Atlanta, Georgia 30339

                                        10.

      Defendant, Matthew Hubbard, is a citizen and resident of Fulton County,

Georgia.   At all times relevant to this lawsuit, Mr. Hubbard was Plaintiff’s

employer for purposes of the FLSA.

                                        11.

      At all times relevant to this lawsuit, Innovative was (and remains) an

enterprise engaged in commerce and therefore subject to the FLSA.

                                        12.

      This case arises under the FLSA and presents a federal question. Thus, this

Court has subject matter jurisdiction under 28 U.S.C. § 1331.


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                                         13.

      This Court has personal jurisdiction over Defendant Matthew Hubbard

because he is a Georgia resident and citizen.

                                         14.

      This Court has personal jurisdiction over Defendant Innovative Contracting

Solutions, Inc. because it is authorized to do business in Georgia.

                                         15.

      Venue is proper in the Northern District of Georgia because both Defendants

are “residents,” as defined in 28 U.S.C. § 1391(c), of Fulton County, Georgia,

which is in this Court’s Atlanta Division. 28 U.S.C. § 1391(b)(1).

                                         16.

      Venue is also proper in the Northern District of Georgia because a

substantial part of the events or omissions giving rise to the cause of action

occurred within this judicial district. 28 U.S.C. § 1391(b)(2).

  Plaintiff’s Employment and Defendants’ Willful Refusal to Pay Overtime

                                         17.

       Innovative is in the construction and contracting business and licensed to


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perform work in ten states throughout the southeast.

                                         18.

      For all periods relevant to this lawsuit, Innovative had sales in excess of five

hundred thousand dollars per year.

                                         19.

      Defendant, Matthew Hubbard, is Innovative’s president and founder.

                                         20.

      Mr. Hubbard controls all aspects of Innovative’s financial and employment-

related decisions.

                                         21.

      Mr. Hubbard is responsible for hiring and firing all Innovative employees,

including Plaintiff.

                                         22.

      In or around July 2011, Defendants hired Plaintiff.

                                         23.

      Plaintiff’s primary job duties were to provide general construction and

contracting services on Innovative’s projects in Georgia and Alabama.


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                                           24.

         Plaintiff was a non-exempt employee under the FLSA.

                                           25.

         Plaintiff had no employees report to him and had no subordinates under his

control.

                                           26.

         Plaintiff had no authority to hire, fire, or recommend the hiring or firing of

any employees.

                                           27.

         Plaintiff performed the duties that Defendants assigned to him on a weekly

basis.

                                           28.

         Plaintiff regularly worked in excess of fifty five hours per week while

employed with Defendants.

                                           29.

         Plaintiff repeatedly informed Defendants that he was working overtime, but


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Defendants refused to compensate Plaintiff at all for his overtime work.

                                          30.

      Defendants did not keep or maintain any records of the number of hours that

its employees worked.

                                          31.

      During his approximately one year of employment with Defendants,

Plaintiff worked in excess of 750 of overtime hours for which he was never

compensated.

                                          32.

      Defendants willfully violated the FLSA by repeatedly refusing to

compensate Plaintiff for his overtime work.

           Count One: Failure to Pay Overtime in Violation of FLSA

                                          33.

      Plaintiff hereby incorporates by reference Paragraphs 1 through 32 of this

Complaint as if set forth fully herein.

                                          34.

      Defendants failed to compensate Plaintiff for overtime hours worked during


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the relevant period in violation of 29 U.S.C. § 207.

                                         35.

      Defendants also failed to keep all records required by 29 U.S.C. § 211(c)

regarding the wages, hours, and other conditions of employment of Plaintiff for the

time period required by law.

                                         36.

      Defendants acted willfully in failing to pay the overtime compensation

required by the FLSA to Plaintiff.

                                         37.

      Plaintiff is entitled to the recovery of his unpaid overtime compensation, an

equivalent amount in liquidated damages, and his attorneys’ fees and costs

pursuant to 29 U.S.C. § 216(b).

      WHEREFORE, Plaintiff requests the Court enter the following relief:

A.    Grant Plaintiff a jury trial on all claims contained herein;

B.    An award of damages in amount to be proven at trial for Defendants’ willful

violation of the FLSA in refusing to compensate Plaintiff for overtime;

C.    An award of liquidated damage for Defendants’ willful violations of the


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FLSA;

D.   An award of attorneys’ fees and costs pursuant to 29 U.S.C. § 216(b);

E.   All other and further relief as the Court finds just and proper.

     Respectfully submitted this 12th day of December, 2013.



                                         s/Logan B. Winkles
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